 Case 3:15-cv-01985-JAH-BLM Document 55-5 Filed 10/31/16 PageID.1833 Page 1 of 115



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16
17                      IN THE UNITED STATES DISTRICT COURT
18                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
19
20   MICKAIL MYLES, an individual,           )   No. 15-cv-1985-BEN(BLM)
                                             )
21               Plaintiff,                  )   NOTICE OF LODGMENT IN SUPPORT
                                             )   OF MOTION FOR SUMMARY
22         v.                                )   JUDGMENT OR ALTERNATIVELY
                                             )   PARTIAL SUMMARY JUDGMENT
23   COUNTY OF SAN DIEGO, by and             )
     through the SAN DIEGO COUNTY            )   Date: December 12, 2016
24   SHERIFF’S DEPARTMENT, a public          )   Time: 10:30 a.m.
     entity; and DEPUTY J. BANKS, an         )   Dept.: 5A - Courtroom of the
25   individual,                             )   Honorable Roger T. Benitez
                                             )   Trial Date: None
26               Defendants.                 )
                                             )
27
28   ///

                                                                     15-cv-1985-BEN(BLM)
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 1           Defendants County of San Diego and Jeremy Banks hereby lodge copies of the
 2   following exhibits in support of their motion for summary judgment, or alternatively
 3   partial summary judgment, as follows:
 4           Exhibit A    CD Recording and Reporter’s Transcript of Audio-Recorded 911 Call
 5   by Charles Sommer on September 5, 2014.
 6           Exhibit B    Arrest Report by Jeremy Banks, CSD-000001-000022.
 7           Exhibit C    CD Recording and Reporter’s Transcript of Audio-Recorded Radio
 8   Dispatch Event E1930789.
 9           Exhibit D    Expert Witness Declaration of Curtis J. Cope, dated May 31, 2016.
10           Exhibit E    Expert Witness Supplemental Declaration of Curtis J. Cope, dated
11   August 29, 2016.
12           Exhibit F    Excerpts from the deposition transcript of Jeffrey J. Noble, dated June
13   6, 2016.
14           Exihibit G Excerpts from the deposition transcript of Jeremy Banks (Volume I),
15   dated December 7, 2015.
16           Exihibit H Excerpts from the deposition transcript of Mickail Myles, dated
17   February 23, 2016.
18           Exhibit I    CD Recording and Reporter’s Transcript of Audio-Recorded
19   Interview of Mickail Myles by Jeremy Banks at Fallbrook Hospital Dated September 6,
20   2014.
21           Exhibit J    CD Recording and Reporter’s Transcript of Recording of Interview of
22   Mickail Myles by Sergeant Brian Hout on September 6, 2014.
23   DATED: October 31, 2016           THOMAS E. MONTGOMERY, County Counsel
24                                     By: s/ MORRIS G. HILL, Senior Deputy
                                       Attorneys for Defendants County of San Diego
25                                     and Jeremy Banks
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26
27
28
                                                 -2-
                                                                            15-cv-1985-BEN(BLM)
Case 3:15-cv-01985-JAH-BLM Document 55-5 Filed 10/31/16 PageID.1835 Page 3 of 115
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Case 3:15-cv-01985-JAH-BLM Document 55-5 Filed 10/31/16 PageID.1837 Page 5 of 115




                            UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF CALIFORNIA



             MICKAIL MYLES, an individual,                )

                       Plaintiff,                         )

                vs.                                       ) Case No.:

             COUNTY OF SAN DIEGO, by and                  ) 15-cv-1585-BEN (BLM)

             through the SAN DIEGO COUNTY                 )

             SHERIFF'S DEPARTMENT, a public               )

             entity; and DEPUTY J. BANKS, an              )

             individual,                                  )

                       Defendants.                        )

             _______________________________              )




                   REPORTER'S TRANSCRIPT OF AUDIO-RECORDED

                              911 CALL BY CHARLES SOMMER

                                  ON SEPTEMBER 5, 2014



         TRANSCRIBED BY:      KIMBERLY A. BROADHURST, CSR NO. 13814

         TRANSCRIBED ON:      OCTOBER 19, 2016




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                                                                           Exhibit A
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     1                (Begin transcription of audio-recorded
     2                radio dispatch, file name: CSD-000106 -
     3                E1930789.wav.)
     4

     5                DISPATCH:       911 emergency (inaudible).
     6                MR. SOMMER:        Hello.
     7                DISPATCH:       Hi.    How can I help you?
     8                MR. SOMMER:        Hey, can you send a patrol car
     9     down to Avocado Vista in Fallbrook?
    10                DISPATCH:       Sure.     What's the address on Avocado
    11     Vista?
    12                MR. SOMMER:        3362 is my address.           These guys
    13     just took off in two different directions.                  It looks
    14     like some were around harassing the local residents.
    15     The other two took off in a -- it looks like a white
    16     sedan.   They're probably heading around the neighborhood
    17     right now.      They're trying to it looks like break into a
    18     vehicle.
    19                DISPATCH:       It looked like they were breaking
    20     into a vehicle?
    21                MR. SOMMER:        Yeah.    There was four of them.
    22     Two of them went in one direction sprinting, and then
    23     the other two it looked like some neighbors are
    24     confronting them.
    25                DISPATCH:       Okay.     So --



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                                                                               Exhibit A
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     1               MR. SOMMER:       Hurry, hurry, hurry.          (Inaudible)
     2     get them down here quickly.          It looks like there's going
     3     to be an altercation.
     4               DISPATCH:      Between who?       The neighbors?
     5               MR. SOMMER:       Yeah.    They're saying to call the
     6     sheriffs.    You're going to get another call.
     7               DISPATCH:      Okay.     What's your name?
     8               MR. SOMMER:       My name is Charles Sommer.         I'm
     9     the resident here.       Please --
    10               DISPATCH:      Okay.     So what's the address that
    11     they're actually at?
    12               MR. SOMMER:       3362 is my address --
    13               DISPATCH:      I know.     I know --
    14               MR. SOMMER:       They're a block down.
    15               DISPATCH:      A block down.        So which way?
    16               MR. SOMMER:       That would be south from my
    17     residence.
    18               DISPATCH:      Okay.     And you saw suspects run --
    19               MR. SOMMER:       Yeah.
    20               DISPATCH:      -- leaving in a white vehicle, white
    21     sedan?
    22               MR. SOMMER:       Yeah.    I couldn't tell.       They were
    23     like 300 yards away.        I couldn't tell the exact color --
    24               DISPATCH:      So who's still outside aside from
    25     your neighbors?



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                                                                            Exhibit A
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     1                MR. SOMMER:        These two guys.        It looks like
     2     there's an altercation.           There may be a fight going on
     3     right now.      It's a good distance that I'm watching it.
     4     There's yelling going on.
     5                DISPATCH:       Okay.
     6                MR. SOMMER:        You better hurry up and get a car
     7     down here quickly.
     8                DISPATCH:       They're already being dispatched.
     9     Me talking to you is not going to hurt anything.               I just
    10     need to give them the updates.              Okay?
    11                MR. SOMMER:        Sure.
    12                DISPATCH:       It's not delaying the process.
    13                MR. SOMMER:        The other vehicle has probably
    14     already left the neighborhood.              It looks like --
    15     originally what happened is they pulled up in the
    16     vehicle.     They walked down.         They looked suspicious in
    17     front of my house.
    18                They went down to a truck.              It looks like they
    19     were breaking in.        One guy was sliding underneath it.
    20     The other guys were checking the car underneath the
    21     bumpers and stuff for a hide-a-key or something.
    22                DISPATCH:       Um-hum.
    23                MR. SOMMER:        And it looks like a neighbor came
    24     out.   Two of them ran down the street and jumped in a
    25     vehicle and took off.          The other two ran the other way,



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                                                                            Exhibit A
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     1     and that's when the neighbors confronted them.
     2               DISPATCH:      Okay.     What did the people who were
     3     running look like?
     4               MR. SOMMER:       They were all probably between the
     5     ages of 17 and 20 and Hispanic.
     6               DISPATCH:      Okay.
     7               MR. SOMMER:       Kids, basically.
     8               DISPATCH:      So like teenagers?
     9               MR. SOMMER:       Yeah.
    10               DISPATCH:      Do you still hear an argument going
    11     on?
    12               MR. SOMMER:       Yeah.    There's something going on.
    13     The door is opening and closing.            It's a pretty far
    14     distance from me.      I've been hearing some sort of
    15     conversation out loud.
    16               DISPATCH:      And which -- which way did the white
    17     sedan go, do you know?
    18               MR. SOMMER:       It took off out of the
    19     neighborhood.
    20               DISPATCH:      Okay.
    21               MR. SOMMER:       And I can't guarantee that it's
    22     white, but there's two young Hispanic kids in there.
    23     That's them.
    24               DISPATCH:      Okay.     Two Hispanic teens?
    25               MR. SOMMER:       Yeah.    And these other guys are



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                                                                           Exhibit A
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     1      still -- okay.       They're still rolling around in the
     2      streets --
     3                 DISPATCH:       What do you mean rolling in the
     4      street?
     5                 MR. SOMMER:        I mean they're -- they're walking
     6      around.
     7                 DISPATCH:       Okay.
     8                 MR. SOMMER:        It looks like somebody is jumping
     9      over a fence in the backyard.             Somebody is going up to
    10      the front door.        I keep hearing --
    11                 DISPATCH:       So you think there's more than two
    12      total because there's still some people outside?
    13                 MR. SOMMER:        Oh, no.     There was four to start
    14      with, you know --
    15                 DISPATCH:       Okay.
    16                 MR. SOMMER:        -- involved, and they split up.
    17      Now there's two and two.
    18                 DISPATCH:       Do you see which fence they're
    19      hopping?
    20                 MR. SOMMER:        Do you hear that?         What are they
    21      saying down there?
    22                 DISPATCH:       Can you tell me where they're
    23      hopping a fence?
    24                 MR. SOMMER:        Say that again?
    25                 DISPATCH:       Can you tell me which direction of



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                                                                              Exhibit A
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     1      the street they're hopping the fence?
     2                 MR. SOMMER:        Okay.    Somebody else was saying
     3      they were calling the cops right now.                So they are about
     4      one, two, three, four, five, six, seven houses down the
     5      street to the south of my house.
     6                 DISPATCH:       Okay.
     7                 MR. SOMMER:        On the opposite end -- opposite
     8      side of the street.         The neighbor's got their lights on
     9      and stuff.      I hear yelling outside.
    10                 DISPATCH:       You still hear yelling?
    11                 MR. SOMMER:        Yeah.    If you get -- if you get a
    12      car down here now, they could actually --
    13                 DISPATCH:       They're -- they're driving there.
    14      We have three of them, and it looks like one of them are
    15      going with their lights and sirens on, so they are
    16      making this a priority.
    17                 MR. SOMMER:        So you guys got the other call
    18      hopefully?
    19                 DISPATCH:       I don't have any other call yet.
    20                 MR. SOMMER:        Okay.    Do you hear some yelling
    21      down there, Laurie?         Yeah.     I hear a neighbor saying,
    22      What the hell are you doing out here?                Blah-blah-blah.
    23      I can tell you they were trying to break into this
    24      vehicle.     I can tell you which one too.
    25                 DISPATCH:       Okay.     And just from what you were



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                                                                             Exhibit A
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     1      able to see, could you see what they were trying to
     2      break in the vehicle with, if they had any weapons?
     3                MR. SOMMER:       No, I couldn't tell.          Again, it's
     4      probably 150, 200 yards from my house.
     5                DISPATCH:      Okay.
     6                MR. SOMMER:       These guys (inaudible).         He said
     7      that they started on Y -- by the time they get there,
     8      these guys will probably be gone.
     9                The other two kids came sprinting by here and
    10      took off in a white vehicle about 100 yards down that
    11      (inaudible).
    12                They were trying -- yeah.            They were trying to
    13      break into that truck down there.             I watched them.    The
    14      one guy slid underneath it.          The other two were -- one
    15      on the side and one was in the front, and they were
    16      checking the bumpers.        Okay.     I'm not sure if that's the
    17      neighbor or if that's one of them right there on the
    18      corner walking up here.
    19                DISPATCH:      What are you seeing?
    20                MR. SOMMER:       I see a neighbor.         I don't know if
    21      it's a neighbor.      It's got to be a neighbor.           It looks
    22      like an older man walking around his yard trying to
    23      figure out because I think some guys jumped the back of
    24      the fence.
    25                DISPATCH:      Okay.     And that's still to the south



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                                                                             Exhibit A
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     1      of you?
     2                MR. SOMMER:        Yeah.
     3                DISPATCH:       Okay.     And that's about seven houses
     4      away?
     5                MR. SOMMER:        Yeah, seven or eight houses away.
     6      It's right on the corner.           If you go down -- if you can
     7      see a map --
     8                DISPATCH:       Yeah.     I'm -- I'm looking at a map.
     9                MR. SOMMER:        Okay.    Go that first little street
    10      to the right, go down one more street, the house on the
    11      corner, catty-corner --
    12                DISPATCH:       Are you talking about Riverview
    13      Court or Avocado Vista?          It looks like your Avocado
    14      Vista Lane crosses with the center of Avocado.
    15                MR. SOMMER:        Yeah.    Hey, what's that street
    16      there?    It's the one that cuts all the way across to --
    17                DISPATCH:       Lake Circle?
    18                MR. SOMMER:        Exactly.
    19                DISPATCH:       Okay.     So it's actually listed as
    20      Avocado Vista here too.
    21                MR. SOMMER:        Okay.    So we're Avocado Vista
    22      Lane.    It must be Avocado Vista something else.
    23                DISPATCH:       Okay.
    24                MR. SOMMER:        It looks like there's somebody
    25      standing outside the house now with a phone.



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                                                                           Exhibit A
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     1                DISPATCH:      And you think you saw him jump the
     2      fence there?    Is it going to be to the --
     3                MR. SOMMER:       South of where I'm at.
     4                DISPATCH:      South of where you are, but then
     5      what's behind your back yard?           Is it just like open
     6      land?
     7                MR. SOMMER:       Nothing.      Yeah, open land.
     8                DISPATCH:      Did you think that hopped that side?
     9                MR. SOMMER:       No, no, no, no, no.
    10                DISPATCH:      Okay.     The other side.
    11                MR. SOMMER:       They're in the neighborhood.       I
    12      could still see.      There's still -- it looks like the
    13      neighbors looking (inaudible).            He's looking around his
    14      yard trying to figure out.
    15                And there's two guys that are kind of out front
    16      moving, and I think it's those two leftover guys.            I
    17      think they all came in that one vehicle, and that one
    18      vehicle took off with two guys.
    19                DISPATCH:      And left the two there?
    20                MR. SOMMER:       Right.
    21                DISPATCH:      So you think one suspect could
    22      possibly still be outside with your neighbor?
    23                MR. SOMMER:       Two.
    24                DISPATCH:      Two.
    25                (Speaking simultaneously.)



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                                                                           Exhibit A
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     1                DISPATCH:      Well, didn't you say one hopped the
     2      fence?
     3                MR. SOMMER:       Two are in that area.
     4                DISPATCH:      Okay.
     5                MR. SOMMER:       The neighbor is walking around the
     6      street right now kind of looking around to see what's
     7      going on.
     8                DISPATCH:      Is your -- it doesn't look like --
     9                MR. SOMMER:       What's the ETA?        How far are they
    10      away?
    11                DISPATCH:      Let me see.       It looks like he's on
    12      Pala Road now.
    13                MR. SOMMER:       On which road?
    14                DISPATCH:      Pala Road.
    15                MR. SOMMER:       Oh, (inaudible).
    16                DISPATCH:      I mean, you are a bit of a ways away
    17      from the town of Fallbrook --
    18                (Speaking simultaneously.)
    19                DISPATCH:      -- in the city, you know, where
    20      they -- the station is.
    21                MR. SOMMER:       Yeah.    This is the same place they
    22      had that problem last week with that one guy.             Mr. San
    23      Marcos on his lip.
    24                DISPATCH:      I'm sorry.       What?
    25                MR. SOMMER:       That guy last week, Mr. San



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                                                                           Exhibit A
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     1      Marcos.    I don't know if you -- he tattooed San Marcos
     2      on his upper lip?
     3                 DISPATCH:       Oh, I'm not familiar with him.
     4                 MR. SOMMER:        (Laughing) yeah, a car jacking
     5      (inaudible) --
     6                 DISPATCH:       Oh, it was something that happened
     7      in your neighborhood?
     8                 MR. SOMMER:        Yeah.
     9                 DISPATCH:       Okay.     Is your neighbor still
    10      outside?
    11                 MR. SOMMER:        Yeah, yeah.       He's standing right
    12      in the middle of the street looking around trying to
    13      figure out what's going on.            I bet those guys are --
    14      they're in the area, but they're not -- I don't think
    15      (inaudible) now.
    16                 DISPATCH:       Okay.     You don't have control of the
    17      suspects.
    18                 MR. SOMMER:        Like the neighbors is kind of
    19      walking around the house probably wondering what the
    20      heck is going on because they had -- for some reason
    21      they ran to the front door and then they ran to the side
    22      and I saw one of the guys kind of hop the fence to the
    23      side.
    24                 There had to be three people -- I think they're
    25      still there.      That looks like one of them.              That white



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                                                                               Exhibit A
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     1      shirt is probably one of them.
     2                 DISPATCH:       Still waiting with the neighbor?
     3                 MR. SOMMER:        Yeah.
     4                 DISPATCH:       The neighbor hasn't -- it doesn't
     5      look like anybody else has called in.
     6                 MR. SOMMER:        Okay.    Okay.     (Inaudible) I can't
     7      tell because a couple people came out of the house.                   I
     8      don't know if there was two or three of them that came
     9      out of the house, but there's now three of them standing
    10      out front.      One guy's got his hand on his hip.             The
    11      other guy is standing there just talking.
    12                 DISPATCH:       Okay.
    13                 MR. SOMMER:        If you go down there, you could
    14      get an idea of what's happened down there.                  Because for
    15      me, I'm looking, like I said, several hundred yards down
    16      the road.
    17                 DISPATCH:       All right.       It looks like we are
    18      just getting another call now, so maybe it's your
    19      neighbor calling.
    20                 MR. SOMMER:        Okay.
    21                 DISPATCH:       All right.       Well, I can let you go
    22      for now.     If anything, just give us a call back if you
    23      get any more information.
    24                 And then when the deputies get there, if you
    25      want, you can go out and talk to them or they'll call



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                                                                                 Exhibit A
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     1      you.   Okay?
     2                MR. SOMMER:           Thank you.
     3                DISPATCH:       You're welcome.
     4                MR. SOMMER:           All right, bye.
     5                DISPATCH:       Bye.
     6                (End transcription of audio recording,
     7                file name: CSD-000106 - E1930789.wav.)
     8                          *       *       *     *      *
     9

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                                                                      Exhibit A
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     1                I, KIMBERLY A. BROADHURST, a Certified
     2      Shorthand Reporter for the State of California, do
     3      hereby certify:
     4                 That the foregoing document is a verbatim
     5      transcription prepared from the electronic sound
     6      recording provided to me of the proceedings in the
     7      above-entitled matter; that the foregoing is a true and
     8      accurate transcription of said recording, to the best of
     9      my ability.
    10

    11                 Dated this 19th day of October, 2016.
    12

    13

    14

    15                 ____________________________________
    16                 KIMBERLY A. BROADHURST, CSR 13814
    17

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                                                                      Exhibit A
Case 3:15-cv-01985-JAH-BLM Document 55-5 Filed 10/31/16 PageID.1852 Page 20 of 115

                                                                                                                  16

                 A            city 11:19             eight 9:5              Hey 2:8 9:15          local 2:14
       ability 15:9           closing 5:13           electronic 15:5        Hi 2:7                look 5:3 11:8 13:5
       able 8:1               color 3:23             emergency 2:5          hide-a-key 4:21       looked 2:19,23 4:16
       above-entitled 15:7    confronted 5:1         entity 1:10            hip 13:10             looking 9:8 10:13,13
       accurate 15:8          confronting 2:24       ETA 11:9               Hispanic 5:5,22,24      11:6 12:12 13:15
       address 2:10,12        control 12:16          exact 3:23             hop 12:22             looks 2:13,15,17 3:2
         3:10,12              conversation 5:15      Exactly 9:18           hopefully 7:18          4:1,14,18,23 6:8
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                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF CALIFORNIA



             MICKAIL MYLES, an individual,                 )

                        Plaintiff,                         )

                 vs.                                       ) Case No.:

             COUNTY OF SAN DIEGO, by and                   ) 15-cv-1585-BEN (BLM)

             through the SAN DIEGO COUNTY                  )

             SHERIFF'S DEPARTMENT, a public                )

             entity; and DEPUTY J. BANKS, an               )

             individual,                                   )

                        Defendants.                        )

             _______________________________               )




                    REPORTER'S TRANSCRIPT OF AUDIO-RECORDED

                                       RADIO DISPATCH

                                       EVENT E1930789



         TRANSCRIBED BY:       KIMBERLY A. BROADHURST, CSR NO. 13814

         TRANSCRIBED ON:       OCTOBER 19, 2016




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     1                 (Begin transcription of audio-recorded
     2                 radio dispatch, file name: CSD-000108 -
     3                 E1930789 radio.wav.)
     4

     5                 UNKNOWN MALE:        What's the address on that auto
     6      alarm?
     7                 DISPATCH:       932 Vista Village, 932 Vista
     8      Village.
     9                 UNKNOWN MALE:        I'm going to break some of that.
    10      I've got to pass it out on my way to the other call.
    11                 DISPATCH:       10-4.
    12                 UNKNOWN MALE:        32 King 2, (inaudible) 594.
    13                 DISPATCH:       10-4.
    14                 All working units, info only, CHP is 10-4, a
    15      possible 23, 152, 1425 South Mission, a red hatchback
    16      just pulled into the parking lot, unknown plates.           I'm
    17      pulling (inaudible) up.
    18                 UNKNOWN MALE:        Paul 1, 97.
    19                 DISPATCH:       Paul, 97.
    20                 32 Paul 5, 459 vehicle?
    21                 DISPATCH:       King 2, I copy on tack.
    22                 It's 3362 Avocado Vista Lane, 3362 Avocado
    23      Vista Lane just an attempt of a vehicle break-in with
    24      more to follow.        32 King 2.
    25                 UNKNOWN MALE:        (Inaudible).



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     1                DISPATCH:      32-5 to cover.        32 King 2 and 32-5,
     2      they're advising it's just south of the location.            The
     3      RP came out here at 415 possibly between a neighbor and
     4      the suspect.
     5                UNKNOWN MALE:       32-1, I'll (inaudible).
     6                DISPATCH:      32 Paul 1, 10-4.
     7                UNKNOWN MALE:       30 Paul 1.
     8                DISPATCH:      30 Paul 1.
     9                UNKNOWN MALE:       Ten A SA and clear 11 and
    10      (inaudible).
    11                DISPATCH:      10-4, 11, copy.
    12                UNKNOWN MALE:       (Inaudible).
    13                UNKNOWN FEMALE:        (Inaudible).
    14                UNKNOWN MALE:       32 King (inaudible) if they
    15      think somebody is confronting the suspect and for
    16      dispatch.
    17                DISPATCH:      I copy.     And en route code 32 Paul
    18      Sam copy.
    19                UNKNOWN MALE:       Copy code.
    20                DISPATCH:      32 King 2, do you have further on
    21      that?   There were two subjects that were running and got
    22      into a white sedan, unknown DOT out of the neighborhood.
    23                UNKNOWN MALE:       10-4.     Can you notify CHP and
    24      border checkpoint?
    25                DISPATCH:      10-4.



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     1                 31 Paul 2, 415 family.
     2                 UNKNOWN FEMALE:         (Inaudible).
     3                 DISPATCH:       Five, 10-4, with unit to cover 415
     4      family.    1124 Mulin (phonetic), 1124 Mulin.               RP is
     5      calling from LA County advising 15 ago they received a
     6      1021 from her husband who is 97 location, and he is
     7      going to throw everything out of the (inaudible) and her
     8      daughter's room if they were not home by midnight.
     9                 The RP's concerned of daughter's school
    10      equipment and other property at the location, is
    11      requesting respond to make sure this has not occurred.
    12      There's three Chihuahuas and a bulldog in the house, and
    13      RP is also requesting a 1021 prior to responding, 31-5?
    14                 UNKNOWN FEMALE:         (Inaudible).
    15                 DISPATCH:       (Inaudible).
    16                 UNKNOWN MALE:        Eleven.
    17                 DISPATCH:       Eleven, 10-4.
    18                 32 King 2 and all the RP can still hear an
    19      active 415.      Too far for descriptions and unknown any
    20      weapons.
    21                 UNKNOWN MALE:        10-4.
    22                 (Inaudible).
    23                 DISPATCH:       32-7, (inaudible).
    24                 DISPATCH:       7, 10-4.
    25                 UNKNOWN MALE:        32 Charles 4.



                                                                                    4
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     1                DISPATCH:      32 Charles 4.
     2                UNKNOWN MALE:       (Inaudible).
     3                DISPATCH:      3362 Avocado Vista Lane.
     4                UNKNOWN MALE:       Clear my last AS and
     5      (inaudible).
     6                DISPATCH:      Copy en route code.
     7                Vista units.       (Inaudible) medical leave 240
     8      North Santa Fe at the Sprinter station, info only.
     9                Fallbrook units.         On the 459 vehicle, we're
    10      also getting a 415 argument, 442 ammunition, possibly
    11      related, repeated (inaudible) 415 between gang members.
    12      One of the males was heard saying he had a gun
    13      (inaudible) heard only.
    14                UNKNOWN MALE:       32 Paul Sam.        Send me that call.
    15                DISPATCH:      10-4.
    16                UNKNOWN MALE:       We've got three units en route
    17      to that other call.       Break one of them.
    18                DISPATCH:      10-4.     Unit to break and cover Paul
    19      Sam on the 415 argument.
    20                UNKNOWN MALE:       Charles 4, I'm closest.
    21                DISPATCH:      32 Charles 4, 10-4.
    22                UNKNOWN MALE:       Follow with the info
    23      (inaudible).
    24                DISPATCH:      It's 442 ammunition.             It's possibly
    25      going to be related to the 459 vehicle.               The RP is



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     1      anonymous, advising there's a 415 argument possibly
     2      between gang members.        One of the males was heard saying
     3      he had a gun only at this time.
     4                UNKNOWN MALE:       30 Paul 1 to 97.
     5                DISPATCH:      10-4.
     6                UNKNOWN MALE:       32 Paul 1.
     7                DISPATCH:      32 Paul 1.
     8                UNKNOWN MALE:       Do you have any further vehicle
     9      description reference 459 vehicle?
    10                DISPATCH:      Negative.
    11                UNKNOWN MALE:       Charles 4.
    12                DISPATCH:      Charles 4.
    13                UNKNOWN MALE:       97.    I parked at 426.     I'm going
    14      to go ahead and walk in.
    15                DISPATCH:      Copy.     97 is parked at 426.    32 Paul
    16      Sam, copy?
    17                UNKNOWN MALE:       10-9.
    18                DISPATCH:      32 Charles 4 is 97 on your call.
    19      He's parked at 426 ammunition and will be walking in.
    20                UNKNOWN MALE:       10-4 from 32.
    21                DISPATCH:      Copy from 32.
    22                UNKNOWN MALE:       Charles 4, (inaudible) units
    23      from CVS (inaudible).
    24                DISPATCH:      Unit from CVS to cover Charles 4.
    25      Any unit at CVS to break and cover Charles 4, 442



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     1      ammunition.      32-11, 10-4.
     2                 UNKNOWN MALE:        30 Paul 1.
     3                 DISPATCH:       30 Paul 1.
     4                 UNKNOWN MALE:        10A, TA (inaudible).
     5                 DISPATCH:       10-4, 7 copy.
     6                 UNKNOWN MALE:        7 copy.
     7                 DISPATCH:       Fallbrook units.         On the 459
     8      vehicle, we're getting another call of suspicious person
     9      5097 Avocado Vista.         They're advising there's unknown
    10      subjects who were 602ing and ringing the doorbell and
    11      leaving.     The neighbors have one detained.               It's
    12      possibly related to the 459 vehicle.                Any unit on the
    13      459 vehicle copy the last.
    14                 UNKNOWN MALE:        10-4.
    15                 DISPATCH:       10-4.     32 King 2, CHP wanted to know
    16      if you want assistance.
    17                 UNKNOWN MALE:        Negative just BOL for the
    18      vehicle for now.
    19                 DISPATCH:       10-4.
    20                 UNKNOWN MALE:        Charles 4, so far it's QA at
    21      442.
    22                 DISPATCH:       Copy.     QA so far at 442.
    23                 UNKNOWN MALE:        Checking the rest of the
    24      complex.
    25                 DISPATCH:       Copy checking the rear.



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     1                30 Paul 1, 415 party.
     2                UNKNOWN MALE:       30 Paul 1.
     3                DISPATCH:      30 Paul 1 units cover 415 party.
     4      3010 Winters Hill, 3010 Winters Hill.              Approximately 30
     5      subjects outside are HPD, possibly underage with loud
     6      music.   RP is a signer.        30 Paul 1.
     7                UNKNOWN MALE:       (Inaudible).
     8                DISPATCH:      32 Paul 3, your status.          32 Paul 3,
     9      your status.    32 Paul 3, your status at the CVS.
    10                UNKNOWN MALE:       Paul 3 (inaudible) can you
    11      assign (inaudible).
    12                DISPATCH:      1414, 5530, 5530.
    13                UNKNOWN MALE:       (Inaudible).
    14                UNKNOWN MALE:       32 Paul 11.
    15                DISPATCH:      32, 11.
    16                UNKNOWN MALE:       I'll be 10-8 with Charles 4
    17      (inaudible), and I'll be back on 32 Paul (inaudible).
    18                DISPATCH:      10-4.
    19                UNKNOWN MALE:       32 Paul 97.
    20                DISPATCH:      10-4.
    21                UNKNOWN MALE:       32 Paul Sam.
    22                DISPATCH:      32 Paul Sam.
    23                UNKNOWN MALE:       Right now it's GAUL.        I'm going
    24      to check the area and then clear.
    25                DISPATCH:      10-4.



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     1                 UNKNOWN FEMALE:         31-5.
     2                 DISPATCH:       31-5.
     3                 UNKNOWN FEMALE:         (Inaudible) 1021 on Vista.
     4                 UNKNOWN MALE:        (Inaudible).
     5                 UNKNOWN MALE:        32 Paul Sam.
     6                 DISPATCH:       32 Paul Sam.
     7                 UNKNOWN MALE:        (Inaudible) 31, 10 A, TA.
     8                 DISPATCH:       10-4.
     9                 UNKNOWN MALE:        32 Paul 1 (inaudible).
    10                 DISPATCH:       ET only.
    11                 UNKNOWN MALE:        Give me 1149 on the suspect
    12      vehicle.     California 5 Mary Frank Sam 363.
    13                 DISPATCH:       10-4 on your 20.
    14                 UNKNOWN MALE:        Give me the fifth -- 5000 block
    15      of Dulin.
    16                 DISPATCH:       5000 block of Dulin units cover.
    17                 UNKNOWN MALE:        (Inaudible).
    18                 DISPATCH:       10-4.
    19                 DISPATCH:       32 Charles 4, I copy you're en
    20      route.   32-7 is looking.
    21                 Continue ET.
    22                 32 Paul 1, the plate is 1129, current, February
    23      2015, 2004 Mitsubishi two-door hatchback out of
    24      Fallbrook, 3350 Avocado Vista Lane.
    25                 Continue ET.



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     1                32 Paul Sam, confirm your 10-4.
     2                UNKNOWN MALE:       Affirm.
     3                DISPATCH:      10-4.     Continue ET.       Continue ET.
     4      Continue ET.
     5                UNKNOWN MALE:       (Inaudible).
     6                DISPATCH:      You have background 10A.         32-7, you
     7      have background 10A.
     8                Fallbrook, 32 Paul 7, 10A your last.
     9                32-1, cannot copy 32 Paul 7's traffic.             Any
    10      Fallbrook unit copy 32-7's last.
    11                UNKNOWN MALE:       32 Paul Sam, I didn't copy.          Who
    12      do we have 97 with 1.
    13                DISPATCH:      32 Paul 1's 97 with.
    14                UNKNOWN MALE:       (Inaudible) we have the driver
    15      detained.    Working on the passenger.
    16                We have the driver detained.             Working on the
    17      passenger.
    18                DISPATCH:      Driver detained, working on the
    19      passenger.
    20                Continue ET.
    21                Continue ET.
    22                Continue ET.
    23                UNKNOWN MALE:       32-7, (inaudible).
    24                DISPATCH:      10-4.
    25                UNKNOWN MALE:       The vehicle is clear.



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     1                DISPATCH:      The vehicle is clear.
     2                Continue ET.
     3                UNKNOWN MALE:       32 King 2, Code 4.          Clear ET.
     4      K9 contact.    Start 1141.
     5                DISPATCH:      Copy Code 4, K9 contact and also
     6      1141.   Station is clear.
     7                UNKNOWN MALE:       32 Zebra 1.
     8                DISPATCH:      32 Zebra 1.
     9                UNKNOWN MALE:       Yeah.     Can you log me on ARJIS
    10      8032, and I'll be en route to VDF point 1?
    11                DISPATCH:      10-4.
    12                UNKNOWN MALE:       32 Paul Sam on your clear.
    13                DISPATCH:      32 Paul Sam.       Go ahead.
    14                UNKNOWN MALE:       Go ahead and just put me out on
    15      1's call.
    16                DISPATCH:      10-4.
    17                32 King 2, FD is 10-4 en route.
    18                31 Paul 9 commercial audible.
    19                UNKNOWN MALE:       31-9.
    20                DISPATCH:      (Inaudible) unit to cover commercial
    21      audible 450 West Vista Way, North County Ford.               450 West
    22      Vista Way at North County Ford.            Peruse the second floor
    23      display perimeter door.         I have the wrong call back
    24      31-9.
    25                UNKNOWN MALE:       En route.



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     1                DISPATCH:      (Inaudible).
     2                UNKNOWN MALE:       31-7, 149.
     3                DISPATCH:      31-7, go ahead.
     4                UNKNOWN MALE:       300 block North Santa Fe, 7
     5      Charles North Sam 509.
     6                DISPATCH:      300 block North Santa Fe.
     7                31 Paul 7, your plate's 1129, current, February
     8      2015, 1998 Pontiac four-door out of Vista on Woodland
     9      Drive.
    10                UNKNOWN MALE:       10-4.
    11                DISPATCH:      10-4.
    12                UNKNOWN MALE:       (Inaudible) Paul 1 for plate
    13      (inaudible).
    14                DISPATCH:      (Inaudible) go ahead.
    15                UNKNOWN MALE:       6 Edward x-ray Adam 072.
    16                DISPATCH:      10-4.
    17                UNKNOWN MALE:       I just need the RO's address.
    18                DISPATCH:      10-4.     It'll be 3030 Winters Hill,
    19      3030 Winters Hill.
    20                UNKNOWN MALE:       10-4.     Thanks.      Confirm the RP
    21      was calling from 3011 Winters Hill?
    22                DISPATCH:      Affirm.
    23                UNKNOWN MALE:       32 Paul 11, can you send me the
    24      459 name, please.
    25                DISPATCH:      Confirm.



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     1                 UNKNOWN MALE:        32-5, clear and tags plate.
     2                 DISPATCH:       Go ahead.
     3                 UNKNOWN MALE:        8 unit 13495, and I don't need
     4      the information.
     5                 DISPATCH:       10-4.     32-5, can you just advise if
     6      the suspicious person on Avocado Vista that's pending
     7      will be related.
     8                 UNKNOWN MALE:        I believe they're going to be
     9      related.     There's four altogether, and they split up in
    10      different directions.
    11                 DISPATCH:       10-4.     I'll relate them.
    12                 UNKNOWN MALE:        32 Charles 4.
    13                 DISPATCH:       32 Charles 4.
    14                 UNKNOWN MALE:        Out with Paul 1 (inaudible).
    15                 DISPATCH:       Go ahead.
    16                 UNKNOWN MALE:        What was the original RP's
    17      location?
    18                 DISPATCH:       3362 Avocado Vista Lane, 3362
    19      Avocado Vista Lane.
    20                 UNKNOWN MALE:        10-4.     I'll be going to that
    21      location.
    22                 DISPATCH:       10-4.
    23                 UNKNOWN MALE:        31-7, 97 the alarm (inaudible).
    24                 DISPATCH:       10-4.
    25                 UNKNOWN MALE:        32 Paul 11, 97.



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     1                 DISPATCH:       11, 10-4.
     2                 UNKNOWN MALE:        Charles 4.
     3                 DISPATCH:       Charles 4.
     4                 UNKNOWN MALE:        (Inaudible) already contacted
     5      the RP.    I'll be back out at the hot stop location.
     6                 DISPATCH:       10-4.
     7                 DISPATCH:       32 Paul 3, your status.
     8                 UNKNOWN MALE:        Paul 3 I'm 10A RF and on with 32
     9      Paul 11.
    10                 DISPATCH:       10-4.
    11                 UNKNOWN MALE:        31-9, 97.
    12                 DISPATCH:       10-4.
    13                 UNKNOWN MALE:        31-7 (inaudible) K9 police.
    14                 DISPATCH:       (Inaudible) 13 to start 450 West
    15      SOA.
    16                 UNKNOWN MALE:        (Inaudible) 13, 10-4.
    17                 DISPATCH:       10-4 (inaudible).
    18                 DISPATCH:       Continue ET.
    19                 UNKNOWN MALE:        Eleven, 97 North County Ford
    20      with an (inaudible).
    21                 DISPATCH:       Eleven, I copy your 97.          7, can you
    22      advise?
    23                 UNKNOWN MALE:        You could just stand by on the
    24      ground level near the Ford (inaudible).
    25                 DISPATCH:       11 copy.



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     1                 UNKNOWN MALE:        10-4.
     2                 DISPATCH:       Continue ET.
     3                 UNKNOWN MALE:        32 Paul 11, CN please.
     4                 DISPATCH:       Continue ET for Vista.
     5                 UNKNOWN MALE:        11, I'm at (inaudible) in vista
     6      village.
     7                 DISPATCH:       11 (inaudible) Vista Village.
     8      Continue ET.      Continue ET for Vista.
     9                 UNKNOWN MALE:        Hey (inaudible) what do you got
    10      so far?
    11                 UNKNOWN MALE:        We have an unlocked door
    12      upstairs which is I think where the alarm was coming
    13      from and we heard some noises inside.
    14                 UNKNOWN MALE:        10-4, are you on the north side
    15      of the building?
    16                 UNKNOWN MALE:        Yes, sir.       We're at the --
    17      you'll see the parking garage on the west side of the
    18      building.     We're on the second floor.
    19                 UNKNOWN MALE:        Okay.     10-4.     I'm at the dead
    20      end of (inaudible) we're (inaudible).
    21                 DISPATCH:       (Inaudible).
    22                 UNKNOWN MALE:        Paul 7.
    23                 DISPATCH:       Did you want (inaudible) started?
    24                 UNKNOWN MALE:        If (inaudible) busy unless their
    25      (inaudible) ETA.



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     1                DISPATCH:      10 King 13, your ETA.
     2                UNKNOWN MALE:       Five out.
     3                DISPATCH:      Copy five out.
     4                UNKNOWN MALE:       Seven, 10-4.        You can clear the
     5      (inaudible).    We don't hear any more noises.
     6                DISPATCH:      The station is clear.
     7                DISPATCH:      31 Paul 51, clear check (inaudible)
     8      10-21.
     9                UNKNOWN FEMALE:        (Inaudible).
    10                DISPATCH:      10-4.
    11                UNKNOWN MALE:       31-7, you can cancel (inaudible)
    12      myself and Paul 91B.        Clearing this room that we have
    13      that's unlocked and we'll (inaudible) for now.             There's
    14      no forced entry.
    15                DISPATCH:      (Inaudible).
    16                UNKNOWN MALE:       (Inaudible).
    17                DISPATCH:      10-4.
    18                UNKNOWN MALE:       31 send the Code 4 clear ET.
    19                DISPATCH:      I copy Code 4 (inaudible) clear for
    20      normal traffic.
    21                10 King 13, copy.
    22                UNKNOWN MALE:       (Inaudible).
    23                DISPATCH:      10-4.     And 31-5 copy.
    24                UNKNOWN FEMALE:        (Inaudible).
    25                DISPATCH:      10-4 and I'll send you the 21.



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     1                 UNKNOWN FEMALE:         (Inaudible).
     2                 UNKNOWN MALE:        32 Paul 1.
     3                 DISPATCH:       32 Paul 1.
     4                 UNKNOWN MALE:        We're conducting a curbside
     5      lineup at 32 Paul 7's location starting mileage 62588.
     6                 DISPATCH:       Midnight 30 hours.
     7                 UNKNOWN MALE:        32 Paul 97 (inaudible) 62588.2.
     8                 DISPATCH:       Midnight 31 hours.
     9                 UNKNOWN MALE:        It's going to be a negative on
    10      suspect ID.
    11                 DISPATCH:       Copy negative on suspect ID.
    12                 UNKNOWN MALE:        It's a negative on the second
    13      suspect.
    14                 DISPATCH:       Negative on the second suspect.
    15                 UNKNOWN MALE:        And it's a negative on the car
    16      as well.
    17                 DISPATCH:       Negative on the vehicle as well.
    18                 UNKNOWN MALE:        31 (inaudible) coming back on
    19      alarm call at Ford.
    20                 DISPATCH:       Affirm.     30 Paul 1, repeat your
    21      status.
    22                 UNKNOWN MALE:        10-4.
    23                 DISPATCH:       (Inaudible).
    24                 UNKNOWN MALE:        32 King 2, can you send me
    25      (inaudible).



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     1                DISPATCH:      32 King 2, it's going to be 1414,
     2      5536, 5536.
     3                UNKNOWN MALE:       32-5.
     4                DISPATCH:      32-5.
     5                UNKNOWN MALE:       (Inaudible) 32F1.
     6                DISPATCH:      32F1 (inaudible).
     7                31 Paul 1 for a suspicious circumstance.
     8                UNKNOWN MALE:       31 Paul 1.
     9                DISPATCH:      (Inaudible) suspicious circumstance
    10      1022 Clearbrook Lane, 1022 Clearbrook.               RP heard a noise
    11      two ago coming from your roommate's room advising the
    12      roommate is not 1097.        She hasn't heard anything since.
    13      She's home alone with her two-year-old daughter and
    14      standing by the front door.          31 Paul.
    15                UNKNOWN MALE:       10-4.
    16                DISPATCH:      (Inaudible).
    17                UNKNOWN MALE:       7.
    18                DISPATCH:      7's out for (inaudible).
    19                31 Paul 9, for a 415 party.
    20                UNKNOWN MALE:       Paul 9, go.
    21                DISPATCH:      (Inaudible) unit to cover 415 party.
    22      RP's anonymous advising at 311 West Los Angeles, Unit A,
    23      Adam, 311 West Los Angeles, A, Adam, that there's party,
    24      ten or more subjects, possible HPD, no fine NFD.
    25                UNKNOWN MALE:       9, 10-4 (inaudible).



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     1                DISPATCH:       (Inaudible).
     2                UNKNOWN MALE:        31-7, 97.       Can I have the RP
     3      come outside?
     4                DISPATCH:       Confirm.
     5                DISPATCH:       RP is en route outside.          She's
     6      wearing a green shirt and black shorts.
     7                UNKNOWN MALE:        10-4.     Does she have an
     8      apartment number?
     9                DISPATCH:       (Inaudible).
    10                UNKNOWN MALE:        7, 1022.
    11                DISPATCH:       10-4.
    12                UNKNOWN MALE:        32 Paul 7.
    13                DISPATCH:       32 Paul 7.
    14                UNKNOWN MALE:        En route to Fallbrook with
    15      110-16.
    16                DISPATCH:       10-4 en route Fallbrook with 110-16
    17      (inaudible).
    18                UNKNOWN MALE:        32 Charles 4.
    19                DISPATCH:       32 Charles 4.
    20                UNKNOWN MALE:        10-98 the last view S and A.
    21                DISPATCH:       10-4 (inaudible).
    22                UNKNOWN MALE:        32 Paul 7, for clarification
    23      Fallbrook Hospital.
    24                DISPATCH:       10-4.     En route Fallbrook Hospital.
    25                UNKNOWN MALE:        32 King 2.



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     1                DISPATCH:       King 2.
     2                UNKNOWN MALE:        (Inaudible) transport a 110-16
     3      to Fallbrook Hospital.
     4                DISPATCH:       10-4 (inaudible).
     5                UNKNOWN MALE:        32 Paul 11, can you attach a
     6      plate, please?
     7                DISPATCH:       Go ahead.
     8                UNKNOWN MALE:        5 Henry George Unit 598.
     9                DISPATCH:       32-11, the plate's 1129, current
    10      April 2015, 2004 Honda four-door, El Cajon.
    11                UNKNOWN MALE:        10-4, can you give me the RRO,
    12      please.
    13                DISPATCH:       Last of Austin, first of Ryan.
    14                UNKNOWN MALE:        10-4, thanks.
    15                DISPATCH:       (Inaudible).
    16                UNKNOWN MALE:        31 Tom 411, 49.
    17                DISPATCH:       Go ahead.
    18                UNKNOWN MALE:        Unplated Chevrolet, (inaudible)
    19      Vista Way and Hillside.
    20                DISPATCH:       East Vista Way and Hillside on an
    21      unplated Chevy, over.
    22                UNKNOWN MALE:        Tom 2, en route.
    23                DISPATCH:       10-4.
    24                UNKNOWN MALE:        32-1.
    25                DISPATCH:       32, go on.



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     1                UNKNOWN MALE:        10-19 (inaudible).
     2                DISPATCH:      10-4.
     3                DISPATCH:      Fallbrook units, (inaudible) CHP
     4      10-4 abandon vehicle in the area of 38898 Duluth Road
     5      (inaudible).    31 Paul 7, update your status.
     6                UNKNOWN MALE:        7 (inaudible).
     7                UNKNOWN MALE:        32 Paul 11.
     8                DISPATCH:      32, 7.
     9                UNKNOWN MALE:        32 Paul 11, if you could change
    10      this to a 40 BE, please.
    11                DISPATCH:      10-4.
    12                UNKNOWN MALE:        32 King 2 and 7, 97.
    13                DISPATCH:      10-4.
    14                UNKNOWN MALE:        32-5, 97.
    15                DISPATCH:      97.    31 Tom 4 and 31 Tom 2, update
    16      your status.
    17                UNKNOWN MALE:        Code 4, we're on a DUI eval.
    18                DISPATCH:      Code 4 on a DUI eval.
    19                DISPATCH:      31-11, 415 (inaudible).
    20                UNKNOWN MALE:        11.
    21                DISPATCH:      11 unit to cover 415 noise 1813
    22      Mancinita Court (phonetic).          1813 Mancinita Court.     Loud
    23      subjects unknown number of subjects.              RP is a signer.
    24      31-11.
    25                UNKNOWN MALE:        (Inaudible).



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     1                UNKNOWN MALE:       32-5 (inaudible).
     2                DISPATCH:      32 Paul 5.       32 Paul 5.
     3                UNKNOWN MALE:       CM police.
     4                DISPATCH:      There's already one assigned to the
     5      event.   Did you want a second?
     6                UNKNOWN MALE:       (Inaudible).
     7                DISPATCH:      10-4.     1414, 5539, 5539.
     8                UNKNOWN MALE:       10-4, thanks.
     9                DISPATCH:      (Inaudible).
    10                DISPATCH:      31 Paul in suspicious person.
    11                UNKNOWN MALE:       31 Paul 1.
    12                DISPATCH:      31 Paul 1 unit to cover suspicious
    13      person Monte Vista and Cyprus, Monte Vista and Cyprus.
    14      RP advising there's a white Ford Explorer driving around
    15      the neighborhood possibly casing.             Last seen pulling
    16      over on Monte Vista just east of Cyprus.                  White Ford
    17      Explorer with a plate 4 John Paul Baker 596.                 31 Paul 1.
    18                UNKNOWN MALE:       10-4 advise.
    19                UNKNOWN FEMALE:        (Inaudible).
    20                DISPATCH:      5, 97.
    21                UNKNOWN FEMALE:        Paul 5, 51 on four.
    22                DISPATCH:      51 on four.       31-11, copy.
    23                UNKNOWN MALE:       (Inaudible).
    24                UNKNOWN FEMALE:        (Inaudible).
    25                DISPATCH:      10-4.     31-11, copy.



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     1                UNKNOWN MALE:        (Inaudible).
     2                DISPATCH:       31 Paul 9, 637.
     3                UNKNOWN MALE:        31-9.
     4                DISPATCH:       9, with unit to cover 647 S 311 West
     5      Los Angeles, Unit A, Adam, 311 West Los Angeles, Unit A,
     6      Adam.    Group of males from a 14 party outside of the
     7      residence seen urinating per HBD.              No signer for the
     8      party.   209.
     9                UNKNOWN MALE:        En route.
    10                DISPATCH:       Change cover.
    11                UNKNOWN MALE:        31-7.
    12                DISPATCH:       7, 10-4.
    13                UNKNOWN MALE:        32 Paul 11.
    14                DISPATCH:       32 Paul 11.
    15                UNKNOWN MALE:        (Inaudible) one back at 32 and
    16      it was an LP (inaudible).
    17                DISPATCH:       10-4.
    18                DISPATCH:       31-11, suspicious circumstance.
    19                UNKNOWN MALE:        11.
    20                DISPATCH:       11, with unit to cover suspicious
    21      circumstance, Lupine Hills and Sheffield Drive.             Lupine
    22      Hills and Sheffield Drive.           RP is calling from
    23      Cobblestone Lane advising (inaudible) vehicle going down
    24      Lupine Hills heard subjects talking in a vehicle going
    25      up the hill.     This all heard only.           Concern there was



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     1      some sort of accident.        RP did not hear an accident, did
     2      not (inaudible) requesting (inaudible) the area.             31-11.
     3                UNKNOWN MALE:       (Inaudible).
     4                UNKNOWN FEMALE:        31-5.
     5                DISPATCH:      31 Paul 5.
     6                UNKNOWN FEMALE:        97, Paul 1 checking.
     7                DISPATCH:      10-4.
     8                UNKNOWN MALE:       31-7, 97.
     9                DISPATCH:      10-4.
    10                UNKNOWN MALE:       31-7, 10 AWC.
    11                DISPATCH:      10-4.     9 copy.
    12                UNKNOWN MALE:       (Inaudible).
    13                UNKNOWN FEMALE:        (Inaudible).
    14                DISPATCH:      31-5 (inaudible).         32 Paul 1, copy.
    15                UNKNOWN MALE:       Affirm.      (Inaudible).
    16                DISPATCH:      31-7, 14 party.
    17                UNKNOWN MALE:       (Inaudible).
    18                DISPATCH:      Send out with unit to cover 415
    19      party, 2112 East Vista Way, 2112 East Vista Way.             Near
    20      the pool area.     Approximately ten subjects are being
    21      loud.   RP is a signer.       31-7.
    22                UNKNOWN MALE:       10-4.
    23                UNKNOWN MALE:       32 King 2.
    24                DISPATCH:      King 2.
    25                UNKNOWN MALE:       10 King Sam is 97, Fallbrook



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     1      Hospital.
     2                DISPATCH:      Copy.     10 King 10 is 97, Fallbrook
     3      Hospital.
     4                UNKNOWN MALE:       10 King Sam.
     5                DISPATCH:      10-4.     32 King 2, did you have an
     6      ARJIS?
     7                UNKNOWN MALE:       2284.
     8                DISPATCH:      10-4.
     9                32 Paul 3 commercial (inaudible).
    10                UNKNOWN MALE:       Paul 3.
    11                DISPATCH:      (Inaudible) unit to cover a
    12      commercial auto (inaudible), 1215 South Mission at the
    13      Got Gold, 1215 South Mission.           Push in front door
    14      interior answering machine on call back.                  The key holder
    15      first have done it in route with 20 (inaudible) black
    16      Mercedes.   32-3.
    17                UNKNOWN MALE:       Copy.
    18                DISPATCH:      Unit to cover?        (Inaudible) 10-4
    19      (inaudible).
    20                UNKNOWN MALE:       Tom 2, 1185.
    21                DISPATCH:      Tom 2, 10-4.
    22                UNKNOWN MALE:       32 King 2, can you (inaudible)
    23      number, please.
    24                DISPATCH:      1414, 5536, 5536.
    25                UNKNOWN MALE:       King 2.      Do you have a 1016



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     1      time?   If not, just the one that the stop was made.
     2                DISPATCH:       Unit on 1016, time the stop was put
     3      out at 23:59 hours.
     4                UNKNOWN MALE:        10-4.     Thanks.
     5                King 2, if you want to you could just make 1016
     6      time midnight 15.
     7                DISPATCH:       1016 at midnight 15.
     8                UNKNOWN MALE:        Tom 4.
     9                DISPATCH:       Tom 4.
    10                UNKNOWN MALE:        I have a 1016, please.        Can I
    11      get a CN and I believe my partner already got an 1185.
    12                DISPATCH:       Confirm.      I'm on landline with them
    13      now.    Stand by for your scan.
    14                Tom 4 your stand 1414, 5542, 5542.
    15                UNKNOWN MALE:        Just so I don't have to bug you
    16      after, what's my 1016 time I just gave you.                I don't
    17      know what time it is.
    18                DISPATCH:       0145 hours.
    19                UNKNOWN MALE:        10-4 (inaudible).
    20                UNKNOWN FEMALE:         5, 977 call.
    21                DISPATCH:       5, 10-4.
    22                DISPATCH:       31 Tom 4, Rantadel Road (phonetic),
    23      (inaudible).     10-4, EJ20.
    24                UNKNOWN MALE:        (Inaudible).
    25                UNKNOWN FEMALE:         5 (inaudible).



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     1                DISPATCH:      31-5 (inaudible) 31-7 copy.
     2                UNKNOWN MALE:       31-7 (inaudible).
     3                UNKNOWN MALE:       32 King 2, what's my beat?
     4                DISPATCH:      388.
     5                UNKNOWN MALE:       (Inaudible).
     6                DISPATCH:      Fallbrook units, info only.      CHP is
     7      10-4 on a black Saturn left southbound on Old Stage Road
     8      from 821 Old Stage Road, unit 15, and that male was seen
     9      HBD prior to leaving.        Info only (inaudible).
    10                UNKNOWN MALE:       32 Paul 11, we have an open
    11      door.   We're making entry.
    12                DISPATCH:      ET only.
    13                DISPATCH:      Continue ET.
    14                UNKNOWN MALE:       32 Paul 11, you can clear ET,
    15      and if you can call for an air crew responder.
    16                DISPATCH:      Station is clear and the responder
    17      was en route.     I've been handling the calls an ETA of 20
    18      (inaudible) and will be in a black Mercedes.
    19                UNKNOWN MALE:       (Inaudible).
    20                UNKNOWN MALE:       32 Paul 3 (inaudible) should be
    21      a valid 459.
    22                DISPATCH:      32 Paul 3, I copy valid 459.
    23                UNKNOWN MALE:       King Sam.
    24                DISPATCH:      King Sam.
    25                UNKNOWN MALE:       Can you have on call DIS



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     1      sergeant give me a 1021.
     2                DISPATCH:      Confirm.      Can you switch to tack and
     3      give me your 21?
     4                UNKNOWN MALE:       (Inaudible).
     5                (End transcription of audio recording,
     6                file name: CSD-000108 - E1930789
     7                radio.wav.)
     8                         *      *      *      *      *
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     1                I, KIMBERLY A. BROADHURST, a Certified
     2      Shorthand Reporter for the State of California, do
     3      hereby certify:
     4                 That the foregoing document is a verbatim
     5      transcription prepared from the electronic sound
     6      recording provided to me of the proceedings in the
     7      above-entitled matter; that the foregoing is a true and
     8      accurate transcription of said recording, to the best of
     9      my ability.
    10

    11                 Dated this 19th day of October, 2016.
    12

    13

    14

    15                 ____________________________________
    16                 KIMBERLY A. BROADHURST, CSR 13814
    17

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